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8
                               UNITED STATES DISTRICT COURT
9
                              NORTHERN DISTRICT OF CALIFORNIA
10
11
         Samuel Love,                            Case No.
12
                 Plaintiff,
13
           v.                                    Complaint For Damages And
                                                 Injunctive Relief For
14
         1231 Market St. Owner L.P., a           Violations Of: Americans With
         Delaware Limited Partnership;           Disabilities Act; Unruh Civil
15                                               Rights Act
16              Defendants,
17
18
19
20         Plaintiff Samuel Love complains of 1231 Market Street Owner L.P., a
21   Delaware Limited Partnership (“Defendants”), and alleges as follows:
22     PARTIES:
23     1. Plaintiff is a California resident with physical disabilities. He is
24   substantially limited in his ability to walk. He is a paraplegic. He uses a
25   wheelchair for mobility.
26     2. Defendant 1231 Market Street Owner L.P., a Delaware Limited
27   Partnership owns and operates the Hotel Whitcomb, located at 1231 Market
28   Street, San Francisco, California, currently and at all times relevant to this


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1    complaint.
2      3. Plaintiff does not know the true names of Defendants, their business
3    capacities, their ownership connection to the property and business, or their
4    relative responsibilities in causing the access violations herein complained of,
5    and alleges a joint venture and common enterprise by all such Defendants.
6    Plaintiff is informed and believes that each of the Defendants herein, is
7    responsible in some capacity for the events herein alleged, or is a necessary
8    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
9    the true names, capacities, connections, and responsibilities of other
10   Defendants are ascertained.
11     JURISDICTION:
12     4. The Court has subject matter jurisdiction over the action pursuant to 28
13   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
14   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
15     5. Pursuant to supplemental jurisdiction, an attendant and related cause
16   of action, arising from the same nucleus of operative facts and arising out of
17   the same transactions, is also brought under California’s Unruh Civil Rights
18   Act, which act expressly incorporates the Americans with Disabilities Act.
19     6. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
20   founded on the fact that the real property which is the subject of this action is
21   located in this district and that Plaintiff's cause of action arose in this district.
22   PRELIMINARY STATEMENT
23     7. This is a lawsuit challenging the reservation policies and practices of a
24   place of lodging. Plaintiff does not know if any physical or architectural
25   barriers exist at the hotel and, therefore, is not claiming that that the hotel has
26   violated any construction-related accessibility standard. Instead, this is about
27   the lack of information provided on the hotel’s reservation website that would
28   permit plaintiff to determine if there are rooms that would work for him.


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1      8. After decades of research and findings, Congress found that there was
2    a “serious and pervasive social problem” in America: the “discriminatory
3    effects” of communication barriers to persons with disability. The data was
4    clear and embarrassing. Persons with disabilities were unable to “fully
5    participate in all aspects of society,” occupying “an inferior status in our
6    society,” often for no other reason than businesses, including hotels and
7    motels, failed to provide information to disabled travelers. Thus, Congress
8    decided “to invoke the sweep of congressional authority” and issue a “national
9    mandate for the elimination of discrimination against individuals with
10   disabilities,” and to finally ensure that persons with disabilities have “equality
11   of opportunity, full participation, independent living” and self-sufficiency.
12     9. As part of that effort, Congress passed detailed and comprehensive
13   regulations about the design of hotels and motels. But, as importantly,
14   Congress recognized that the physical accessibility of a hotel or motel means
15   little if the 61 million adults living in America with disabilities are unable to
16   determine which hotels/motels are accessible and to reserve them. Thus,
17   there is a legal mandate to provide a certain level of information to disabled
18   travelers.
19     10. But despite the rules and regulations regarding reservation procedures,
20   a 2019 industry article noted that: “the hospitality sector has largely
21   overlooked the importance of promoting accessible features to travelers.”
22     11. These issues are of paramount important. Persons with severe
23   disabilities have modified their own residences to accommodate their unique
24   needs and to ameliorate their physical limitations. But persons with disabilities
25   are never more vulnerable than when leaving their own residences and having
26   to travel and stay at unknown places of lodging. They must be able to ascertain
27   whether those places work for them.
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1      FACTUAL ALLEGATIONS:
2      12. Plaintiff planned on making a trip in February of 2021 to the San
3    Francisco, California, area.
4      13. He chose the Hotel Whitcomb, located at 1231 Market Street, San
5    Francisco, California because this hotel was at a desirable price and location.
6      14. Plaintiff needs an accessible guestroom. He needs clearance around
7    beds, he needs accessible restroom facilities including accessible sinks,
8    accessible tubs or showers and accessible toilets. He needs sufficient
9    maneuvering clearance in and around the guestroom. He needs accessories to
10   be located within an accessible reach range. In short, he benefits from and
11   needs compliant accessible guestroom features.
12     15. While sitting bodily in California, Plaintiff went to the Hotel Whitcomb
13   reservation website at https://www.hotelwhitcomb/ seeking to book an
14   accessible room at the location on October 12, 2020.
15     16. Plaintiff found that there was little information about the accessibility
16   of the rooms. For example, under the “Property features” tab, it mentions
17   features such as: “Accessible public entrance”, “Accessible public restroom”,
18   “Accessible concierge desk”, “Accessible parking”, “Accessible retail shop,
19   and accessible route to retail shop from the public entrance and accessible
20   rooms” and “Roll in shower”. These vague and conclusory statements offer
21   little detail. For example, there is no specific information on whether the
22   desk/table in the room is accessible, if the sink is accessible, or if the room has
23   accessible clear floor space.
24     17. The defendant’s reservation system failed to identify and describe the
25   accessible features in the guestroom chosen by the plaintiff in enough detail to
26   reasonably permit him to assess independently whether the particular
27   guestroom met his accessibility needs.
28     18. This lack of information created difficulty for the plaintiff and the idea


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1    of trying to book this room -- essentially ignorant about its accessibility --
2    caused discomfort for the Plaintiff.
3      19. Plaintiff would like to patronize this hotel but is deterred from doing so
4    because of the lack of detailed information through the hotel’s reservation
5    system. Plaintiff not only travels frequently but is always on the lookout for
6    businesses that violate the law and discriminate against him and other persons
7    with disabilities, intending to have them comply with the law and pay statutory
8    penalties.
9    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
10   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
11   Defendants.) (42 U.S.C. section 12101, et seq.)
12     20. Plaintiff re-pleads and incorporates by reference, as if fully set forth
13   again herein, the allegations contained in all prior paragraphs of this
14   complaint.
15     21. Under the ADA, it is an act of discrimination to fail to make reasonable
16   modifications in policies, practices, or procedures when such modifications
17   are necessary to afford goods, services, facilities, privileges advantages or
18   accommodations to person with disabilities unless the entity can demonstrate
19   that taking such steps would fundamentally alter the nature of the those goods,
20   services, facilities, privileges advantages or accommodations. See 42 U.S.C. §
21   12182(B)(2)(A)(ii).
22     22. Specifically, with respect to reservations by places of lodging, a
23   defendant must ensure that its reservation system, including reservations
24   made by “any means,” including by third parties, shall:
25                   a. Ensure that individuals with disabilities can make
26                         reservations for accessible guest rooms during the same
27                         hours and in the same manner as individuals who do not
28                         need accessible rooms;


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1                     b. Identify and describe accessible features in the hotels and
2                        guest rooms offered through its reservations service in
3                        enough detail to reasonably permit individuals with
4                        disabilities to assess independently whether a given hotel
5                        or guest room meets his or her accessibility needs; and
6                     c. Reserve, upon request, accessible guest rooms or specific
7                        types of guest rooms and ensure that the guest rooms
8                        requested are blocked and removed from all reservations
9                        systems.
10             See 28 C.F.R. § 36.302(e).
11     23. Here, the defendant failed to modify its reservation policies and
12   procedures to ensure that it identified and described accessible features in the
13   hotels and guest rooms in enough detail to reasonably permit individuals with
14   disabilities to assess independently whether a given hotel or guest room meets
15   his or her accessibility needs and failed to ensure that individuals with
16   disabilities can make reservations for accessible guest rooms during the same
17   hours and in the same manner as individuals who do not need accessible
18   rooms.
19   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
20   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
21   Code § 51-53.)
22     24. Plaintiff repleads and incorporates by reference, as if fully set forth
23   again herein, the allegations contained in all prior paragraphs of this
24   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
25   that persons with disabilities are entitled to full and equal accommodations,
26   advantages, facilities, privileges, or services in all business establishment of
27   every kind whatsoever within the jurisdiction of the State of California. Cal.
28   Civ. Code §51(b).


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1      25. The Unruh Act provides that a violation of the ADA is a violation of the
2    Unruh Act. Cal. Civ. Code, § 51(f).
3      26. Defendants’ acts and omissions, as herein alleged, have violated the
4    Unruh Act by, inter alia, failing to comply with the ADA with respect to its
5    reservation policies and practices.
6      27. Because the violation of the Unruh Civil Rights Act resulted in difficulty
7    and discomfort for the plaintiff, the defendants are also each responsible for
8    statutory damages, i.e., a civil penalty. See Civ. Code § 52(a).
9    PRAYER:
10          Wherefore, Plaintiff prays that this Court award damages and provide
11   relief as follows:
12       1. For injunctive relief, compelling Defendants to comply with the
13   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
14   plaintiff is not invoking section 55 of the California Civil Code and is not
15   seeking injunctive relief under the Disabled Persons Act at all.
16       2. Damages under the Unruh Civil Rights Act, which provides for actual
17   damages and a statutory minimum of $4,000 for each offense.
18       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
19   to 42 U.S.C. § 12205; and Cal. Civ. Code § 52(a).
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21
     Dated: December 11, 2020                 CENTER FOR DISABILTY ACCESS
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25
                                              By:
26
                                              Russell Handy, Esq.
27                                            Attorneys for Plaintiff
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